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                             Schedule 3
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                                                                                            Schedule 3 - Derivative Works with Non-Unique Track Names



Cox Submission                 Track                                    Artist                PX-01 # PX-02 #        Reg. No. (SR)       SR Ex. No.       Reg. No. (MC)       MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Compilation
Ex. 2221       Angel                                  Dave Matthews Band                           141       904 SR0000300313          PX-1541 (RC)     PA0001046461         PX-4591 (PC)   Same artist and album identified              X
                                                                                                                                       PX-7115 (PC)                                         on both certificates
Ex. 2222        Angel                                 Aerosmith                                  3575        959 SR0000085369          PX-2216 (RC)     PA0000342822         PX-2480 (PC)   Same artist and album identified              X
                                                                                                                                       PX-6858 (PC)                          PX-4204 (PC)   on both certificates
Ex. 2223        Beautiful                             Carly Rae Jepsen                                              SR0000738473       PX-2146 (RC)                                         Same artist identified on both                X
                                                                                                 3824          11                      PX-7924 (PC)     PA0001850260         PX-6215 (PC)   certificates
Ex. 2224        Beautiful                             Faith Hill                                                    SR0000321377       PX-3358 (RC)                          PX-3127 (RC)   Same artist and album identified              X
                                                                                                 6409       1248                       PX-7165 (PC)     PA0001073465         PX-4664 (PC)   on both certificates
Ex. 2225        Blind                                 Trey Songz                                                    SR0000671697       PX-3298 (RC)     PA0001771887         PX-5492 (PC)   Same artist and album identified              X
                                                                                                 5912       3138                       PX-7631 (PC)     PA0001728367         PX-5776 (PC)   on both certificates
Ex. 2226        Blind                                 Jason Derulo                               6528        642 SR0000685175          PX-3380 (RC)     PA0001813213         PX-6022 (PC)   Same artist identified on both                X
                                                                                                                                       PX-7683 (PC)                                         certificates
Ex. 2227        Breathe                               Paula DeAnda                                                  SR0000393631       PX-1624 (RC)                                         Same artist and album identified              X
                                                                                                   472      2065                       PX-7347 (PC)     PA0001349255         PX-5030 (PC)   on both certificates
Ex. 2228        Breathe                               Faith Hill                                                    SR0000276629       PX-7075 (PC)                          PX-3128 (PC)   Same artist and album identified              X
                                                                                                 6412        965                                        PA0000999862         PX-4509 (PC)   on both certificates
Ex. 2229        Burn It Down                          Avenged Sevenfold                                             SR0000374368       PX-3337 (RC)                          PX-757 (RC)    Same artist and album identified              X
                                                                                                 6242        210                       PX-7293 (PC)     PA0001162008         PX-4934 (PC)   on both certificates
Ex. 2230        BURN IT DOWN                          Linkin Park                                                   SR0000708311       PX-3386 (RC)                          PX-2906 (RC)   Same artist and album identified              X
                                                                                                 6546       1411                       PX-7770 (PC)     PA0001805742         PX-5938 (PC)   on both certificates
Ex. 2231        Camouflage                            Brad Paisley                                                  SR0000680360       PX-1710 (RC)                          PX-1008 (RC)   Same artist identified on both                X
                                                                                                   959       211                       PX-7669 (PC)     PA0001743344         PX-5640 (PC)   certificates
Ex. 2232        Camouflage                            Brandy                                                        SR0000622255       PX-1665 (RC)                                         Same artist and album identified              X
                                                                                                   997      2071                       PX-7474 (PC)     PA0002001267         PX-6579 (PC)   on both certificates
Ex. 2233        Changes                               2Pac                                                          SR0000246223       PX-2404 (RC)                          PX-3055 (RC)   Same artist and album identified              X
                                                                                                 3512       1053                       PX-7018 (PC)     PA0001070591         PX-4631 (PC)   on both certificates
Ex. 2234        Changes                               Common                                                        SR0000619987       PX-2125 (RC)                          PX-980 (RC)    Same date of first publication on             X
                                                                                                 3871        316                       PX-7455 (PC)     PA0001731492         PX-5539 (PC)   both certificates
Ex. 2235        Cold                                  Matchbox Twenty                                               SR0000345857       PX-7223 (PC)                          PX-661 (RC)    Same artist and album identified              X
                                                                                                 5731        317                                        PA0001104580         PX-4712 (PC)   on both certificates
Ex. 2236        Cold                                  Maxwell                                                       SR0000639738       PX-1678 (RC)                          PX-953 (RC)    Same artist and album identified              X
                                                                                                 2205        366                       PX-7536 (PC)     PA0001707770         PX-5443 (PC)   on both certificates
Ex. 2237        Cool                                  Anthony Hamilton featuring David                              PA0001640157       PX-1487 (RC)                                         Same artist identified on both
                                                      Banner                                       420       504                       PX-5194 (PC)     PA0001627481         PX-5180 (PC)   certificates
Ex. 2238        Cool                                  Gwen Stefani                                                  SR0000364759       PX-2341 (RC)                          PX-738 (RC)    Same artist and album identified              X
                                                                                                 4308        395                       PX-7272 (PC)     PA0001160425         PX-4902 (PC)   on both certificates
Ex. 2239        Crazy World                           Boys Like Girls                                               SR0000731314       PX-1793 (RC)                          PX-1155 (RC)   Same date of first publication on             X
                                                                                                   924         24                      PX-7890 (PC)     PA0001831285         PX-6128 (PC)   both certificates
Ex. 2240        Crazy World                           Young Jeezy                                                   SR0000616586       PX-2339 (RC)                          PX-866 (RC)    Same artist identified on both                X
                                                                                                 5421        505                       PX-7430 (PC)     PA0001640764         PX-5202 (PC)   certificates
Ex. 2241        Devour                                Disturbed                                                     SR0000316958       PX-3348 (RC)                          PX-3511 (RC)                                                 X
                                                                                                                                       PX-7156 (PC)                          PX-3558 (RC)   Same artist and album identified
                                                                                                 6356       2575                                        PA0001111236         PX-3559 (RC)   on both certificates
Ex. 2242        Drive                                 Miley Cyrus                                                   SR0000735242       PX-1803 (RC)                                         Same artist and album identified              X
                                                                                                 2263       3015                       PX-7907 (PC)     PA0001870025         PX-3909 (RC)   on both certificates
Ex. 2243        Drive                                 Carly Rae Jepsen                                              SR0000738473       PX-2146 (RC)                                         Same artist and album identified              X
                                                                                                 3826        400                       PX-7924 (PC)     PA0001816534         PX-6047 (PC)   on both certificates
Ex. 2244        Easy                                  Paula DeAnda                                                  SR0000393631       PX-1624 (RC)                                         Same artist and album identified              X
                                                                                                   474      2109                       PX-7347 (PC)     PA0001349254         PX-3965 (RC)   on both certificates
Ex. 2245        Easy                                  Fuel                                                          SR0000269920       PX-1512 (RC)                                         Same artist and album identified              X
                                                                                                 1551        975                       PX-7062 (PC)     PA0001025287         PX-3115 (RC)   on both certificates
Ex. 2246        Everything                            Young Jeezy                                                   SR0000616586       PX-2339 (RC)     PA0001640776         PX-875 (RC)    Same artist and date of first                 X
                                                                                                 5424       2601                       PX-7430 (PC)                                         publication on both certificates
Ex. 2247        Everything                            Michael Bublé                                                 SR0000406982       PX-3391 (RC)                          PX-2959 (RC)   Same artist and album identified
                                                                                                 6615       1074                       PX-7386 (PC)     PA0001600375         PX-5118 (PC)   on both certificates
Ex. 2248        Fall                                  Brandy                                                        SR0000622255       PX-1665 (RC)                                         Same artist and album identified              X
                                                                                                 1000          42                      PX-7474 (PC)     PA0001920169         PX-6471 (PC)   on both certificates
    Abbreviation Key:
    PC - U.S. Copyright Office Public Catalog Entry
    RC - Registration Certificate                                                Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
    SR - Sound Recording                                                                                                    1
    MC - Musical Composition
                                    Case 1:18-cv-00950-PTG-JFA Document 711-5 Filed 08/03/20 Page 3 of 7 PageID# 31353
                                                                                            Schedule 3 - Derivative Works with Non-Unique Track Names



Cox Submission                 Track                                   Artist                PX-01 # PX-02 #        Reg. No. (SR)       SR Ex. No.       Reg. No. (MC)       MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Compilation
Ex. 2249       Fall                                   Justin Bieber                                             SR0000710074          PX-2204 (RC)                                         Same artist and album identified              X
                                                                                                4519       2608                       PX-7784 (PC)     PA0001884084         PX-6356 (PC)   on both certificates
Ex. 2250        Fallen                                Imagine Dragons                           4362       1076 SR0000706680          PX-2053 (RC)     PA0001840137         PX-2870 (RC)   Same artist and date of first                 X
                                                                                                                                      PX-7765 (PC)                          PX-6167 (PC)   publication on both certificates
Ex. 2251        Fallen                                Jason Derulo                                                 SR0000685175       PX-3380 (RC)                                         Same artist identified on both                X
                                                                                                6530        356                       PX-7683 (PC)     PA0001712987         PX-5452 (PC)   certificates
Ex. 2252        Have Some Fun                         Pitbull feat. The Wanted & Afrojack                          SR0000714643       PX-1745 (RC)                          PX-3002 (RC)   Same artist identified on both                X
                                                                                                2582       1636                       PX-7799 (PC)     PA0001858598         PX-6264 (PC)   certificates
Ex. 2253        Have Some Fun                         Avant                                                        SR0000339561       PX-2110 (RC)                          PX-698 (RC)    Same artist and album identified              X
                                                                                                3663        310                       PX-7203 (PC)     PA0001158407         PX-4806 (PC)   on both certificates
Ex. 2254        Heart Attack                          Trey Songz                                                   SR0000715080       PX-3296 (RC)                                         Same artist and album identified              X
                                                                                                5923       2145                       PX-7805 (PC)     PA0001931588         PX-4039 (RC)   on both certificates
Ex. 2255        Heart Attack                          Raphael Saadiq                                               SR0000677734       PX-1706 (RC)                          PX-3006 (RC)   Same artist identified on both                X
                                                                                                2621        981                       PX-7655 (PC)     PA0001752511         PX-5697 (PC)   certificates
Ex. 2256        Heaven                                Los Lonely Boys                                              SR0000352465       PX-1587 (RC)                          PX-720 (RC)    Same artist and album identified              X
                                                                                                2109        408                       PX-7238 (PC)     PA0001159600         PX-4849 (PC)   on both certificates
Ex. 2257        Heaven                                Avant                                                        SR0000339561       PX-2110 (RC)                                         Same artist and album identified              X
                                                                                                3664        407                       PX-7203 (PC)     PA0001158408         PX-4807 (PC)   on both certificates
Ex. 2258        Hell                                  Foo Fighters                                                 SR0000377762       PX-1609 (RC)                          PX-2836 (RC)   Same artist and album identified              X
                                                                                                1491       1092                       PX-7304 (PC)     PA0001731003         PX-5528 (PC)   on both certificates
Ex. 2259        Hell                                  Disturbed                                                    SR0000695381       PX-3352 (RC)                                         Same artist identified on both                X
                                                                                                6367       2655                       PX-7702 (PC)     PA0001310671         PX-3513 (RC)   certificates
Ex. 2260        Hello                                 Kelly Clarkson                                               SR0000693113       PX-1717 (RC)                                                                                       X
                                                                                                                                      PX-8462 (PC)                                         Same artist and album identified
                                                                                                1990       2656                       PX-8463 (PC)     PA0001789865         PX-5900 (PC)   on both certificates
Ex. 2261        Hello                                 Eminem                                                       SR0000633152       PX-2378 (RC)                                         Same date of first publication on             X
                                                                                                4033        409                       PX-7513 (PC)     PA0001706431         PX-5423 (PC)   both certificates
Ex. 2262        Hollywood                             Nickelback                                                   SR0000330446       PX-8003 (PC)                                         Same artist and album identified              X
                                                                                                6179       2151                                        PA0001103822         PX-3926 (RC)   on both certificates
Ex. 2263        Hollywood                             Los Lonely Boys                                              SR0000352465       PX-1587 (RC)                          PX-723 (RC)    Same artist and album identified              X
                                                                                                2110        411                       PX-7238 (PC)     PA0001159603         PX-4852 (PC)   on both certificates
Ex. 2264        Hollywood                             The Cranberries                                              SR0000217619       PX-2013 (RC)
                                                                                                                                      PX-2271 (RC)                          PX-2530 (RC)   Same artist and album identified
                                                                                                5327       1961                       PX-6987 (PC)     PA0000791574         PX-4342 (PC)   on both certificates
Ex. 2265        Home                                  Daughtry                                                     SR0000399960       PX-1636 (RC)                          PX-3272 (RC)   Same artist and album identified             X
                                                                                                1341       1288                       PX-7367 (PC)     PA0001166372         PX-8279 (PC)   on both certificates
Ex. 2266        Home                                  Foo Fighters                                                 SR0000617325       PX-1655 (RC)                          PX-2837 (RC)   Same artist and album identified             X
                                                                                                1493       1095                       PX-7436 (PC)     PA0001625349         PX-5168 (PC)   on both certificates
Ex. 2267        Honestly                              Hot Chelle Rae                                               SR0000412466       PX-8434 (PC)     PA0001856126         PX-6246 (PC)   Same artist and album identified             X
                                                                                                1679       3212                       PX-8435 (PC)     PA0001803614         PX-5928 (PC)   on both certificates
Ex. 2268        Honestly                              Kelly Clarkson                                               SR0000693113       PX-1717 (RC)                                                                                      X
                                                                                                                                      PX-8462 (PC)                                         Same artist and album identified
                                                                                                1991        518                       PX-8463 (PC)     PA0001972855         PX-6538 (PC)   on both certificates
Ex. 2269        I Want You                            Faith Hill                                                   SR0000374377       PX-3359 (RC)                          PX-3192 (RC)   Same artist and album identified             X
                                                                                                6423       1660                       PX-7294 (PC)     PA0001302581         PX-4989 (PC)   on both certificates
Ex. 2270        Innocence                             Avril Lavigne                                                SR0000609671       PX-1648 (RC)                          PX-785 (RC)    Same artist and album identified             X
                                                                                                   71       242                       PX-7394 (PC)     PA0001167508         PX-8219 (PC)   on both certificates
Ex. 2271        Innocence                             Hootie & The Blowfish                                        SR0000334892       PX-3427 (RC)                          PX-613 (RC)    Same artist and album identified             X
                                                                                                5613          77                      PX-7197 (PC)     PA0001194022         PX-8205 (PC)   on both certificates
Ex. 2272        Intro                                 Wiz Khalifa                                                  SR0000715951       PX-3297 (RC)                          PX-1183 (RC)   Same artist identified on both               X
                                                                                                5967        888                       PX-7809 (PC)     PA0001874326         PX-6315 (PC)   certificates
Ex. 2273        Intro                                 Big Sean                                                     SR0000678630       PX-2134 (RC)                                         Same artist identified on both               X
                                                                                                3724       1103                       PX-7661 (PC)     PA0001780742         PX-5846 (PC)   certificates
Ex. 2274        Judas                                 Cage The Elephant                                            SR0000631003       PX-1674 (RC)                          PX-1093 (RC)   Same artist and album identified             X
                                                                                                1114        708                       PX-7507 (PC)     PA0001794291         PX-5914 (PC)   on both certificates
Ex. 2275        Judas                                 Lady Gaga                                                    SR0000678406       PX-1887 (RC)                          PX-1237 (RC)   Same artist identified on both               X
                                                                                                4720        709                       PX-7657 (PC)     PA0001752321         PX-5693 (PC)   certificates
    Abbreviation Key:
    PC - U.S. Copyright Office Public Catalog Entry
    RC - Registration Certificate                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
    SR - Sound Recording                                                                                                   2
    MC - Musical Composition
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                                                                                           Schedule 3 - Derivative Works with Non-Unique Track Names



Cox Submission                     Track                               Artist                PX-01 # PX-02 #       Reg. No. (SR)        SR Ex. No.       Reg. No. (MC)       MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                    Part of Compilation
Ex. 2276       Let It Die                             Foo Fighters                                                SR0000617325        PX-1655 (RC)                          PX-2839 (RC)   Same artist and album identified              X
                                                                                                1496       1112                       PX-7436 (PC)     PA0001625293         PX-5160 (PC)   on both certificates
Ex. 2277         Let It Die                           Feist                                                       SR0000374394        PX-2385 (RC)                          PX-3124 (RC)   Same artist and album identified              X
                                                                                                4151       1819                       PX-7296 (PC)     PA0001166700         PX-8286 (PC)   on both certificates
Ex. 2278         M.I.A.                               Foo Fighters                                                SR0000285034        PX-1522 (RC)                          PX-2849 (RC)   Same artist and album identified              X
                                                                                                1499       1680                       PX-7083 (PC)     PA0001693329         PX-5380 (PC)   on both certificates
Ex. 2279         M.I.A.                               Avenged Sevenfold                                           SR0000374368        PX-3337 (RC)                          PX-759 (RC)    Same artist and album identified              X
                                                                                                6243        253                       PX-7293 (PC)     PA0001162010         PX-4936 (PC)   on both certificates
Ex. 2280         Maria                                Justin Bieber                                               SR0000710074        PX-2204 (RC)                          PX-1166 (RC)   Same artist identified on both                X
                                                                                                4521        736                       PX-7784 (PC)     PA0001834767         PX-6150 (PC)   certificates
Ex. 2281         Maria                                Green Day                                                   SR0000306999        PX-3369 (RC)                                         Same artist and album identified              X
                                                                                                6500       2735                       PX-7135 (PC)     PA0001062006         PX-4606 (PC)   on both certificates
Ex. 2282         Me Against The World                 Simple Plan                                                 SR0000375167        PX-3458 (RC)                                         Same artist identified on both                X
                                                                                                5890       2738                       PX-7299 (PC)     PA0001251376         n/a            certificates
Ex. 2283         Me Against The World                 2Pac                                                        SR0000198774        PX-2107 (RC)                                                                                       X
                                                                                                                                      PX-2108 (RC)                          PX-3054 (RC)   Same artist and album identified
                                                                                                3527        933                       PX-6964 (PC)     PA0000700333         PX-4273 (PC)   on both certificates
Ex. 2284         Merry Go Round                       Keith Sweat                                                 SR0000150379        PX-3309 (RC)                          PX-2442 (RC)   Same artist and album identified              X
                                                                                                6060        934                       PX-6925 (PC)     PA0000494345         PX-4228 (PC)   on both certificates
Ex. 2285         Merry Go Round                       Puddle Of Mudd                                              SR0000618744        PX-2354 (RC)                                         Same artist identified on both
                                                                                                5114       2741                                        PA0001657844         PX-5277 (PC)   certificates
Ex. 2286         My Fault                             Eminem                                                      SR0000262686        PX-2407 (RC)                          PX-3133 (RC)   Same artist and album identified              X
                                                                                                4051       1887                       PX-7047 (PC)     PA0000954429         PX-4472 (PC)   on both certificates
Ex. 2287         My Fault                             Imagine Dragons                                             SR0000695196        PX-2054 (RC)                          PX-2873 (RC)   Same artist and date of first                 X
                                                                                                4365       1127                       PX-7701 (PC)     PA0001796476         PX-5918 (PC)   publication on both certificates
Ex. 2288         My Love                              Ciara                                                       SR0000404728        PX-1640 (RC)                          PX-2758 (RC)   Same artist and album identified              X
                                                                                                  576      1688                       PX-7379 (PC)     PA0001885589         PX-6359 (PC)   on both certificates
Ex. 2289         My Love                              Justin Timberlake                                           SR0000395943        PX-1630 (RC)                                         Same artist identified on both                X
                                                                                                3168       2019                       PX-7356 (PC)     PA0001368886         PX-5038 (PC)   certificates
Ex. 2290         Nice Guys Finish Last                Cobra Starship                                              SR0000657140        PX-3413 (RC)                          PX-893 (RC)    Same date of first publication on             X
                                                                                                6146       3124                       PX-7586 (PC)     PA0001656109         PX-5273 (PC)   both certificates
Ex. 2291         Nice Guys Finish Last                Green Day                                                   SR0000244558        PX-3367 (RC)                                         Same artist and album identified              X
                                                                                                6502       2767                       PX-7016 (PC)     PA0001059862         PX-4601 (PC)   on both certificates
Ex. 2292         No Limit                             Wiz Khalifa                                                 SR0000715951        PX-3297 (RC)     PA0001951617         PX-1189 (RC)                                                 X
                                                                                                                                      PX-7809 (PC)     PA0001874362         PX-6322 (PC)   Same artist and album identified
                                                                                                5971       3222                                                             PX-6513 (PC)   on both certificates
Ex. 2293         No Limit                             Avant                                                       SR0000308368        PX-2106 (RC)                          PX-3082 (RC)   Same artist and album identified              X
                                                                                                3675       1478                       PX-7137 (PC)     PA0001087668         PX-4677 (PC)   on both certificates
Ex. 2294         No Love                              Simple Plan                                                 SR0000639323        PX-3459 (RC)                                         Same artist and album identified              X
                                                                                                5893       2770                       PX-7534 (PC)     PA0001644610         PX-4012 (RC)   on both certificates
Ex. 2295         No Love                              Eminem                                                      SR0000653572        PX-2087 (RC)                                         Same artist and album identified              X
                                                                                                4056       2388                       PX-7573 (PC)     PA0001735858         PX-3691 (RC)   on both certificates
Ex. 2296         One                                  Simple Plan                                                 SR0000375167        PX-3458 (RC)                                         Same artist and album identified              X
                                                                                                5894       2787                       PX-7299 (PC)     PA0001251378         PX-4013 (RC)   on both certificates
Ex. 2297         One                                  Faith Hill                                                  SR0000321377        PX-3358 (RC)                          PX-3190 (RC)   Same artist and album identified              X
                                                                                                6447       1704                       PX-7165 (PC)     PA0001120335         PX-4749 (PC)   on both certificates
Ex. 2298         Out Of My Head                       Black Eyed Peas                                             SR0000633584        PX-2128 (RC)                                                                                       X
                                                                                                                                      PX-8452 (PC)                          PX-2725 (RC)   Same date of first publication on
                                                                                                3770       1141                       PX-8453 (PC)     PA0001659074         PX-5287 (PC)   both certificates
Ex. 2299         Out Of My Head                       Puddle Of Mudd                                              SR0000301465        PX-1965 (RC)                          PX-3972 (RC)                                                 X
                                                                                                                                      PX-2267 (RC)                          PX-8372 (PC)   Same artist and album identified
                                                                                                5119       2797                       PX-7119 (PC)     PA0001075310         PX-8373 (PC)   on both certificates
Ex. 2300         Picture Perfect                      Yung Joc                                                    SR0000393525        PX-3300 (RC)                                         Same artist and album identified              X
                                                                                                6021       2265                       PX-7346 (PC)     PA0001347992         PX-4074 (RC)   on both certificates
Ex. 2301         Picture Perfect                      Chamillionaire                                              SR0000381901        PX-2114 (RC)                                                                                       X
                                                                                                                                      PX-2362 (RC)                                         Same artist and album identified
                                                                                                3845       1711                       PX-7316 (PC)     PA0001317548         PX-5000 (PC)   on both certificates
    Abbreviation Key:
    PC - U.S. Copyright Office Public Catalog Entry
    RC - Registration Certificate                                               Sony Music Entm't, et al. v. Cox Commc'ns, Inc., et al. , 1:18-cv-00950-LO-JFA (E.D. Va.)
    SR - Sound Recording                                                                                                   3
    MC - Musical Composition
                                    Case 1:18-cv-00950-PTG-JFA Document 711-5 Filed 08/03/20 Page 5 of 7 PageID# 31355
                                                                                          Schedule 3 - Derivative Works with Non-Unique Track Names



Cox Submission                 Track                                  Artist                PX-01 # PX-02 #       Reg. No. (SR)        SR Ex. No.       Reg. No. (MC)       MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                   Part of Compilation
Ex. 2302       Picture Perfect                        Chris Brown                                                SR0000630132        PX-1673 (RC)                          PX-2753 (RC)   Same artist and album identified              X
                                                                                               3136       1143                       PX-7503 (PC)     PA0001395677         PX-5066 (PC)   on both certificates
Ex. 2303         Promise                              Simple Plan                                                SR0000375167        PX-3458 (RC)                                         Same artist and album identified              X
                                                                                               5898       2826                       PX-7299 (PC)     PA0001251378         PX-4013 (RC)   on both certificates
Ex. 2304         Promise                              Ciara                                                      SR0000404728        PX-1640 (RC)                          PX-776 (RC)    Same artist identified on both                X
                                                                                                 577       449                       PX-7379 (PC)     PA0001166650         PX-8283 (PC)   certificates
Ex. 2305         Push                                 Matchbox Twenty                                            SR0000227755        PX-3394 (RC)                                         Same artist and album identified              X
                                                                                               5758        324                       PX-7003 (PC)     PA0000844645         PX-4367 (PC)   on both certificates
Ex. 2306         Push                                 Avril Lavigne                                              SR0000680182        PX-1709 (RC)                          PX-1047 (RC)   Same artist identified on both                X
                                                                                                 765       265                       PX-7668 (PC)     PA0001761225         PX-5742 (PC)   certificates
Ex. 2307         Radio                                Matchbox Twenty                                            SR0000714896        PX-3434 (RC)                          PX-1179 (RC)   Same date of first publication on             X
                                                                                               5761        119                       PX-7803 (PC)     PA0001850359         PX-6221 (PC)   both certificates
Ex. 2308         Radio                                Darius Rucker                                              SR0000724693        Px-2143 (RC)                                         Same artist and album identified              X
                                                                                               3332       2831                       PX-7855 (PC)     PA0001939474         PX-6497 (PC)   on both certificates
Ex. 2309         Radio                                Beyoncé                                                    SR0000623449        PX-1667 (RC)                                         Same artist and album identified              X
                                                                                                 805      2281                       PX-7482 (PC)     PA0001630369         PX-3549 (RC)   on both certificates
Ex. 2310         Radio                                Hot Chelle Rae Featuring Bei Maejor                        SR0000412466        PX-8334 (PC)                          PX-1100 (RC)   Same album identified on both                 X
                                                                                               1684        786                       PX-8335 (PC)     PA0001807090         PX-5961 (PC)   certificates
Ex. 2311         Red Lipstick                         Trey Songz                                                 SR0000671697        PX-3298 (RC)     PA0001771886         PX-5775 (PC)   Same artist and album identified              X
                                                                                               5937       3136                       PX-7631 (PC)     PA0001786336         PX-5873 (PC)   on both certificates
Ex. 2312         Red Lipstick                         Rihanna                                                    SR0000689431        PX-1980 (RC)                                         Same artist and album identified              X
                                                                                               5209       2837                       PX-7695 (PC)     PA0001841921         PX-4004 (RC)   on both certificates
Ex. 2313         Runaway                              Avril Lavigne                                              SR0000609671        PX-1648 (RC)                          PX-2699 (RC)   Same artist and album identified              X
                                                                                                  76      1726                       PX-7394 (PC)     PA0001334141         PX-5020 (PC)   on both certificates
Ex. 2314         Runaway                              Maroon 5                                                   SR0000664531        PX-1929 (RC)                          PX-2955 (RC)   Same date of first publication on             X
                                                                                               4963       1351                       PX-7606 (PC)     PA0001726283         PX-5479 (PC)   both certificates
Ex. 2315         Runaway                              Linkin Park                                                SR0000288402        PX-3382 (RC)                                         Same artist and album identified              X
                                                                                               6581       1502                       PX-7092 (PC)     PA0001092511         PX-4693 (PC)   on both certificates
Ex. 2316         Save You                             Simple Plan                                                SR0000639323        PX-3459 (RC)                                         Same artist and album identified              X
                                                                                               5900       2864                       PX-7534 (PC)     PA0001644614         PX-4014 (RC)   on both certificates
Ex. 2317         Save You                             Pearl Jam                                                  SR0000324204        PX-1570 (RC)                          PX-2585 (RC)   Same artist and album identified              X
                                                                                               2539       1728                       PX-7178 (PC)     PA0001134589         PX-4776 (PC)   on both certificates
Ex. 2318         Shine                                Darius Rucker                                              SR0000724693        PX-2143 (RC)                                         Same artist identified on both                X
                                                                                               3333       1731                       PX-7855 (PC)     PA0001864791         PX-6284 (PC)   certificates
Ex. 2319         Shine                                Jadakiss                                                   SR0000356267        PX-2239 (RC)                                         Same artist and album identified              X
                                                                                               4409       2300                       PX-7250 (PC)     PA0001305505         PX-3762 (RC)   on both certificates
Ex. 2320         Shine                                Ledisi                                                     SR0000678487        PX-2040 (RC)                          PX-3842 (RC)   Same artist and album identified              X
                                                                                                                                                      PA0001778259
                                                                                               4780       3031                       PX-7660 (PC)                          PX-5826 (PC)   on both certificates
Ex. 2321         Show Me                              Kid Ink                                                    SR0000742549        PX-7937 (PC)                                         Same artist and album identified
                                                                                               2032        568                       PX-1820 (RC)     PA0001933694         PX-6489 (PC)   on both certificates
Ex. 2322         Show Me                              Usher                                                      SR0000731104        PX-7889 (PC)                                         Same artist identified on both                X
                                                                                               2913        132                       PX-1792 (RC)     PA0001804834         PX-5933 (PC)   certificates
Ex. 2323         Shut It Down                         Luke Bryan                                                 SR0000728445        PX-1919 (RC)                                         Same artist and album identified              X
                                                                                               3447       2303                       PX-7876 (PC)     PA0001870871         PX-3889 (RC)   on both certificates
Ex. 2324         Shut It Down                         Pitbull featuring Akon                                     SR0000641804        PX-1683 (RC)                                         Same artist identified on both                X
                                                                                               2585        817                       PX-7542 (PC)     PA0001733390         PX-5568 (PC)   certificates
Ex. 2325         Slow                                 Grouplove                                                  SR0000704081        PX-7744 (PC)                          PX-3560 (RC)                                                 X
                                                                                                                                     PX-3418 (RC)                          PX-8404 (PC)   Same artist and album identified
                                                                                               5605       2885                                        PA0001762863         PX-8405 (PC)   on both certificates
Ex. 2326         Slow                                 Fuel                                                       SR0000269920        PX-1512 (RC)                                         Same artist and album identified              X
                                                                                               1575       1012                       PX-7062 (PC)     PA0001025292         PX-4561 (PC)   on both certificates
Ex. 2327         Somebody That I Used To Know         Elliott Smith                                              SR0000280584        PX-2085 (RC)                          PX-3203 (RC)   Same artist identified on both                X
                                                                                               3991       1364                       PX-7187 (PC)     PA0001015780         PX-4530 (PC)   certificates
Ex. 2328         Somebody That I Used To Know         Gotye                                                      SR0000692982        PX-7698 (PC)                          PX-3746 (RC)   Same artist identified on both                X
                                                                                               4303       1992                       PX-2048 (RC)     PA0001785517         PX-5867 (PC)   certificates
Ex. 2329         Someone Like You                     Adele                                                      SR0000673074        PX-7641 (PC)                          PX-2664 (RC)   Same artist identified on both                X
                                                                                                 708      1905                       PX-1701 (RC)     PA0001734868         PX-5580 (PC)   certificates
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    SR - Sound Recording                                                                                                  4
    MC - Musical Composition
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                                                                                            Schedule 3 - Derivative Works with Non-Unique Track Names



Cox Submission                  Track                                   Artist                PX-01 # PX-02 #       Reg. No. (SR)        SR Ex. No.       Reg. No. (MC)       MC Ex. No.                 Link                 Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                     Part of Compilation
Ex. 2330       Sometimes                              Raphael Saadiq                                               SR0000619872        PX-1658 (RC)                                       Same artist identified on both                  X
                                                                                                 2629       1956                       PX-7452 (PC)     PA0001612668         PX-5144 (PC) certificates
Ex. 2331        Sometimes                             Britney Spears                                               SR0000260870        PX-1460 (RC)                                       Same artist identified on both                  X
                                                                                                 3119       1561                       PX-7044 (PC)     PA0000932239         PX-4445 (PC) certificates
Ex. 2332        Speechless                            Macy Gray                                                    SR0000336638        PX-1576 (RC)                          PX-677 (RC) Same artist identified on both                   X
                                                                                                 2159        139                       PX-7200 (PC)     PA0001131696         PX-4767 (PC) certificates
Ex. 2333        Speechless                            Lady Gaga                                                    SR0000642917        PX-1886 (RC)                                       Same artist identified on both                  X
                                                                                                 4737        825                       PX-7552 (PC)     PA0001751979         PX-5680 (PC) certificates
Ex. 2334        Stars                                 fun.                                                         SR0000704930        PX-3416 (RC)                          PX-5908 (PC)                                                 X
                                                                                                                                       PX-7752 (PC)     PA0001791456         PX-1117 (RC) Same artist identified on both
                                                                                                 6160       3261                                        PA0001810598         PX-6002 (PC) certificates
Ex. 2335        Stars                                 Nelly Furtado                                                SR0000729667        PX-1944 (RC)                          PX-1037 (RC) Same artist identified on both                  X
                                                                                                 5033        828                       PX-7882 (PC)     PA0001753996         PX-5720 (PC) certificates
Ex. 2336        Still                                 Foo Fighters                                                 SR0000377762        PX-1609 (RC)                                       Same artist identified on both                  X
                                                                                                 1518       1164                       PX-7304 (PC)     PA0001730871         PX-5509 (PC) certificates
Ex. 2337        Still                                 Macy Gray                                                    SR0000267460        PX-1510 (RC)                                       Same artist identified on both                  X
                                                                                                 2160        141                       PX-7060 (PC)     PA0000986836         PX-4505 (RC) certificates
Ex. 2338        Stronger                              Kanye West                                                   SR0000615019        PX-2069 (RC)                                       Same artist identified on both
                                                                                                 4603       2904                       PX-7419 (PC)     PA0001597242         PX-5116 (PC) certificates
Ex. 2339        Stronger                              Faith Hill                                                   SR0000321377        PX-3358 (RC)                          PX-2817 (RC) Same artist and album identified                X
                                                                                                 6452       1166                       PX-7165 (PC)     PA0001120338         PX-4751 (PC) on both certificates
Ex. 2340        Superstar                             Usher                                                        SR0000354784        PX-1591 (RC)                          PX-702 (RC) Same artist identified on both                   X
                                                                                                   354       361                       PX-7243 (PC)     PA0001159085         PX-4828 (PC) certificates
Ex. 2341        Superstar                             Big Time Rush                                                SR0000697856        PX-1722 (RC)                                       Same date of first publication on               X
                                                                                                   843       835                       PX-7715 (PC)     PA0001825039         PX-6113 (PC) both certificates
Ex. 2342        Take Me Home                          Darius Rucker                                                SR0000724693        PX-2143 (RC)                                       Same artist identified on both                  X
                                                                                                 3334       1743                       PX-7855 (PC)     PA0001864792         PX-6285 (PC) certificates
Ex. 2343        Take Me Home                          Boys Like Girls                                              SR0000731314        PX-1793 (RC)                          PX-1129 (RC) Same artist identified on both                  X
                                                                                                   945       148                       PX-7890 (PC)     PA0001831437         PX-6131 (PC) certificates
Ex. 2344        Thank You                             Simple Plan                                                  SR0000375167        PX-3458 (RC)                                       Same artist identified on both                  X
                                                                                                 5902       2921                       PX-7299 (PC)     PA0001251377         PX-4009 (RC) certificates
Ex. 2345        Thank You                             Keith Urban                                                  SR0000656739        PX-2208 (RC)                          PX-891 (RC) Same artist identified on both
                                                                                                 3407        152                       PX-7582 (PC)     PA0001653144         PX-5268 (PC) certificates
Ex. 2346        The Last Song                         Foo Fighters                                                 SR0000377762        PX-1609 (RC)                                       Same artist and album identified                X
                                                                                                 1522       1176                       PX-7304 (PC)     PA0001731040         PX-5530 (PC) on both certificates
Ex. 2347        The Last Song                         Rihanna                                                      SR0000644571        PX-1982 (RC)                                       Same artist identified on both                  X
                                                                                                 5227       2929                       PX-7558 (PC)     PA0001704476         PX-5416 (PC) certificates
Ex. 2348        The One That Got Away                 Katy Perry                                                   SR0000662268        PX-7599 (PC)                          PX-5707 (PC) Same artist and album identified                X
                                                                                                 3378       2933                       PX-2190 (RC)     PA0001753639                      on both certificates
Ex. 2349        The One That Got Away                 Jake Owen                                                    SR0000697851        PX-7714 (PC)                          PX-6053 (PC) Same artist identified on both                  X
                                                                                                 1789        471                       PX-1721 (RC)     PA0001818449                      certificates
Ex. 2350        Time Flies                            Kenny Chesney                                                SR0000722762        PX-1768 (RC)                                       Same artist and album identified                X
                                                                                                 2015        475                       PX-7839 (PC)     PA0001807051         PX-5957 (PC) on both certificates
Ex. 2351        Time Flies                            Puddle Of Mudd                                               SR0000347741        PX-7229 (PC)                          PX-3983 (RC)                                                 X
                                                                                                                                                                             PX-8020 (PC) Same album identified on both
                                                                                                 5127       2950                                    PA0001225979             PX-8185 (PC) certificates
Ex. 2352        Touch Me                              Flo Rida                                                     SR0000658178        PX-3306 (RC)                          PX-1105 (RC) Same artist identified on both                  X
                                                                                                 5571        862                       PX-7589 (PC) PA0001807825             PX-5978 (PC) certificates
Ex. 2353        Touch Me                              Chris Brown feat. Sevyn                                      SR0000711816        PX-1742 (RC)                          PX-1202 (RC) Same artist identified on both                  X
                                                                                                 1278        861                       PX-7791 (PC) PA0001896041             PX-6397 (PC) certificates
Ex. 2354        Turn It Up                            Brandy                                                       SR0000370673        PX-3289 (RC)                          PX-3610 (RC)                                                 X
                                                                                                                                       PX-7283 (PC)                          PX-8170 (PC)
                                                                                                                                                    PA0001236716             PX-711 (RC) Same artist identified on both
                                                                                                 5502       3114                                    PA0001159468             PX-4838 (PC) certificates
Ex. 2355        Turn It Up                            Chamillionaire                                               SR0000381901        PX-2114 (RC)                                                                                       X
                                                                                                                                       PX-2362 (RC)                          PX-3239 (RC) Same artist and album identified
                                                                                                 3851       1770                       PX-7316 (PC) PA0001317543             PX-4995 (PC) on both certificates
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    SR - Sound Recording                                                                                                    5
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                                                                                         Schedule 3 - Derivative Works with Non-Unique Track Names



Cox Submission                  Track                                Artist                PX-01 # PX-02 #       Reg. No. (SR)        SR Ex. No.       Reg. No. (MC)       MC Ex. No.                 Link                Multiple Works Asserted as
     Ex. No.                                                                                                                                                                                                                 Part of Compilation
Ex. 2356       Untitled                               Eminem                                                    SR0000653572        PX-2087 (RC)                          PX-3692 (RC)   Same artist and album identified             X
                                                                                              4095       3131                       PX-7573 (PC)     PA0001735849         PX-5593 (PC)   on both certificates
Ex. 2357        Untitled**                            Fuel 238                                                  SR0000253431        PX-1455 (RC)                          PX-3169 (RC)   Same artist and album identified             X
                                                                                              1585       1027                       PX-7035 (PC)     PA0000893228         PX-4423 (PC)   on both certificates
Ex. 2358        Wait For Me                           Big Sean                                                  SR0000678630        PX-2134 (RC)                          PX-2720 (RC)   Same artist identified on both               X
                                                                                              3729       1192                       PX-7661 (PC)     PA0001780732         PX-5845 (PC)   certificates
Ex. 2359        Wait For Me                           Rise Against                                              SR0000671827        PX-1993 (RC)                                         Same album identified on both                X
                                                                                              5252        871                       PX-7635 (PC)     PA0001887807         PX-6365 (PC)   certificates
Ex. 2360        When It Rains                         Paramore                                                  SR0000631909        PX-3323 (RC)                                         Same artist and album identified             X
                                                                                              5824       2981                       PX-7510 (PC)     PA0001595076         PX-3964 (RC)   on both certificates
Ex. 2361        When It Rains                         Gretchen Wilson                                           PA0001245662        PX-1477 (RC)                                         Same artist and album identified             X
                                                                                              1657       2370                       PX-8033 (PC)     PA0001227155         PX-3759 (RC)   on both certificates
Ex. 2362        Why                                   Annie Lennox                                              SR0000145693        PX-1399 (RC)                          PX-3068 (RC)   Same artist identified on both               X
                                                                                                407      1823                       PX-6919 (PC)     PA0001166751         PX-8288 (PC)   certificates
Ex. 2363        Why                                   Avant                                                     SR0000281220        PX-2105 (RC)                          PX-3071 (RC)   Same artist and album identified             X
                                                                                              3696       1551                       PX-7189 (PC)     PA0001012583         PX-4525 (PC)   on both certificates
Ex. 2364        With You                              Jamie Foxx                                                SR0000374820        PX-1607 (RC)                          PX-767 (RC)    Same artist and album identified             X
                                                                                                248       183                       PX-7297 (PC)     PA0001163725         PX-8255 (PC)   on both certificates
Ex. 2365        With You                              Avant                                                     SR0000396388        PX-2117 (RC)                          PX-2681 (RC)   Same artist and album identified             X
                                                                                              3697       1203                       PX-7358 (PC)     PA0001371417         PX-5041 (PC)   on both certificates
Ex. 2366        With You                              Linkin Park                                               SR0000288402        PX-3382 (RC)                                         Same artist and album identified             X
                                                                                              6590       1553                       PX-7092 (PC)     PA0001092508         PX-4690 (PC)   on both certificates
Ex. 2367        XO                                    Beyoncé                                                   SR0000747291        PX-1834 (RC)                                         Same artist and album identified             X
                                                                                                819      2993                       PX-7956 (PC)     PA0001918135         PX-3584 (RC)   on both certificates
Ex. 2368        XO                                    Emblem3                                                   SR0000726978        PX-1781 (RC)                                         Same album identified on both                X
                                                                                              1450        883                       PX-7869 (PC)     PA0001879186         PX-6338 (PC)   certificates
Ex. 2369        You                                   Plies                                                     SR0000612286        PX-3452 (RC)                                         Same artist and album identified             X
                                                                                              5839       1789                       PX-7402 (PC)     PA0001757407         PX-5727 (PC)   on both certificates
Ex. 2370        You                                   Avant                                                     SR0000339561        PX-2110 (RC)                          PX-845 (RC)    Same artist identified on both               X
                                                                                              3698        303                       PX-7203 (PC)     PA0001621886         PX-5150 (PC)   certificates




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